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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5
     Attorney for Defendant
6    RASHAWN JACKSON

7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,    )        Case No. 2:06-cr-00476-MCE
                                  )
12                  Plaintiff,    )        STIPULATION AND ORDER CONTINUING
                                  )        STATUS CONFERENCE AS TO RASHAWN
13             v.                 )        JACKSON ONLY
                                  )
14   RASHAWN JACKSON,             )        DATE: April 10, 2008
                                  )        TIME: 9:00 a.m.
15                  Defendant.    )        JUDGE: Hon. Morrison C. England, Jr.
16                                )
     ____________________________ )
17
18
19         It is hereby stipulated and agreed to between the United States of
20   America through JASON HITT, Assistant U.S. Attorney, and defendant
21   RASHAWN JACKSON, by and though his attorney, RACHELLE BARBOUR,
22
     Assistant Federal Defender, that the status conference of March 27,
23
     2008 be vacated and that a status conference be set for April 10, 2008
24
     at 9:00 a.m.
25
           This continuance is being requested because the parties need
26
     additional time to finalize the government’s plea agreement.
27
28   ///
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1    Once the parties have made a plea agreement, defense counsel will
2    provide it to the Court for its review prior to the next status
3    conference.
4
           The parties request that speedy trial time is be excluded from
5
     the date of this order through the date of the status conference set
6
     for April 10, 2008   pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv)
7
     [reasonable time to prepare] (Local Code T4).
8
     DATED: March 25, 2008            Respectfully submitted,
9
10                                    DANIEL J. BRODERICK
                                      Federal Defender
11
                                      /s/ RACHELLE BARBOUR
12
                                      RACHELLE BARBOUR
13                                    Assistant Federal Defender
                                      Attorney for Defendant RASHAWN JACKSON
14
15                                    McGREGOR SCOTT
                                      United States Attorney
16
                                      /s/ Rachelle Barbour for
17   DATED: March 25, 2008
                                      JASON HITT
18                                    Assistant U.S. Attorney
19                                     O R D E R
20
          IT IS SO ORDERED.
21
     Dated: March 26, 2008
22
23
                                          _____________________________
24                                        MORRISON C. ENGLAND, JR.
                                          UNITED STATES DISTRICT JUDGE
25
26
27
28


                                            2
